                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF TENNESSEE


CHARLES CURTIS, et al.,                                 )
                                                        )
Plaintiffs,                                             )   Civ. No. 3:06-cv-448
                                                        )   Judge Phillips
v.                                                      )
                                                        )
ALCOA INC., Individually and as Fiduciary of            )
the Employees’ Group Benefits Plan of Alcoa             )
Inc., Plan II,                                          )
                                                        )
Defendant.                                              )


                  [PROPOSED] AMENDED JUDGMENT ORDER


       Upon consideration of the Motion for Clarification and to Amend the Judgment

filed in this case by the Plaintiffs on March 23, 2011, the Court amends its earlier

Judgment Order filed on March 9, 2011 to include the specific provisions stated below.

IT IS ORDERED AND ADJUDGED that:

       1.      The record in this case shall be supplemented by the information

contained in Plaintiffs’ Declaration of Counsel filed with Plaintiffs’ Motion to for

Clarification and to Amend the Judgment in this case.

       2.      The Court declares that the Plaintiffs’ healthcare benefits under the Alcoa

Inc. plan(s) are vested lifetime benefits in accordance with ¶¶ 236 and 237 of the Court’s

Findings of Fact and Conclusions of Law filed March 9, 2011.

       3.      The Court declares that the Plaintiffs’ healthcare benefits under the Alcoa

Inc. plan(s) are vested lifetime benefits that are subject to an annual-dollar cap on Alcoa

Inc.’s contributions toward those benefits with the cap amount being $7,767.00 for each




Case 3:06-cv-00448-PLR-CCS           Document 525-1         Filed 03/23/11    Page 1 of 3
                                    PageID #: 12752
pre-65/non-Medicare eligible retiree, dependent, spouse and surviving spouse and at

$3,389.00 for each post-65/Medicare eligible retiree, dependent, spouse and surviving

spouse to be paid by Defendant for each Plaintiff in each calendar year in accordance

with ¶¶ 276 and 284 of the Court’s Findings of Fact and Conclusions of Law.

       4.      Defendant is permanently enjoined from reducing its per person annual

contribution for Plaintiffs’ healthcare benefits under the Alcoa Inc. plan(s) for the

lifetime of each Plaintiff below the applicable dollar cap specified in Paragraph 3 above,

i.e., $7,767.00 for each pre-65/non-Medicare eligible retiree, dependent, spouse and

surviving spouse and $3,389.00 for each post-65/Medicare eligible retiree, dependent,

spouse and surviving spouse per calendar year.

       5.      The Court declares that the Plaintiffs’ healthcare benefits are vested

lifetime benefits with premiums to be paid pursuant the 2006 CBA in the amount of

$150.00 per month for the retiree and the retiree’s spouse ($75.00 per person) for a pre-

Medicare retiree and $80.00 per month for the retiree and the retiree’s spouse ($40.00 per

person) for a post-Medicare eligible retiree until 2017 in accordance with ¶¶ 287 and 288

of the Court’s Findings of Fact and Conclusions of Law.

       6.      The Court declares that the Plaintiffs’ healthcare benefits are vested

lifetime benefits and that the 2006 CBA ensures that no further plan design changes will

be necessary until 2017 in accordance with ¶¶ 277, 283, 287 and 288 of the Court’s

Findings of Fact and Conclusions of Law.

       7.      The Defendant is enjoined from adjusting or changing the plan design, the

premiums paid by the Plaintiffs and/or the amounts of deductibles paid by Plaintiffs from




Case 3:06-cv-00448-PLR-CCS          Document 525-1        Filed 03/23/11      Page 2 of 3
                                   PageID #: 12753
the terms stated in the 2006 CBA until 2017 in accordance with ¶¶ 277, 283, 287 and 288

of the Court’s Findings of Fact and Conclusions of Law.

       Dated at Knoxville, Tennessee, this _____ day of ______________, 2011.

                                           ENTER:


                                           ____________________________
                                           United States District Judge




Case 3:06-cv-00448-PLR-CCS         Document 525-1         Filed 03/23/11   Page 3 of 3
                                  PageID #: 12754
